                      UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             NORTHERN DIVISION

IN RE:                                        CASE NO. 16-21964-dob
ANGELA JANE-HOWEY SIMPSON                     CHAPTER 7
                        Debtor.
_________________________________/
CRISTIE A. VanMASSENHOVE (P72704) JILL M. GIES (P56345)
Attorney for Debtor                 Attorney for the US Dept. of Justice
KANE, FUNK & POCH, PC               Office of the U.S. Trustee
421 S. Ripley Boulevard             211 West Fort St., Suite 700
Alpena, Michigan 49707              Detroit, MI 48226
(989) 356-2128                      (313) 226-7913
cristievanmassenhove@gmail.com      Jill.Gies@usdoj.gov
_____________________________________________________________________/

                 DEBTOR’S FIRST REQUESTED STIPULATION AND
               ORDER TO ADJOURN TRUSTEE’S MOTION TO DISMISS

       NOW COME the parties, by and through their respective attorneys, and hereby
stipulate and agree to adjourn the motion hearing on Trustee’s Motion to Dismiss
scheduled for Thursday, January 26, 2017 at 1:30 p.m. for the reason that Debtor had
surgery and is still recovering. Due to the nature of the surgery, she is unable to travel
and attend said hearing pursuant to the restrictions in place by her doctor. Therefore, for
the aforesaid reason, the parties request that the Clerk of the Court reschedule the
motion hearing on Trustee’s Motion to Dismiss in this matter to Thursday, February 23,
2017 at 1:30 p.m.

      DATED: January 25, 2017

                                         /s/ Jill M. Gies
                                         Jill M. Gies (P56345)
                                         Attorney for the US Dept. of Justice
                                         Office of the U.S. Trustee


      DATED: January 25, 2017
                                         _/s/ Cristie A. VanMassenhove _______
                                         Cristie A. VanMassenhove (P72704)
                                         Attorney for Debtor




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_____________________________________________________________________/

                                ORDER TO ADJOURN

                     PRESENT: HONORABLE DANIEL S. OPPERMAN

      THIS MATTER having come before the Court on stipulation of the parties, and

the Court being otherwise fully advised in the premises;

      NOW THEREFORE, IT IS HEREBY ORDERED AND ADJUDGED that the

motion hearing on the Trustee’s Motion to Dismiss scheduled in the above captioned

cause for Thursday, January 26, 2017 at 1:30 p.m. is hereby adjourned to Thursday,

February 23, 2017 at 1:30 p.m. or as soon as counsel may be heard.




                                             Exhibit A




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